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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

                                                      §
   In re:                                             §       Chapter 7
                                                      §
   ASTRALABS, INC.                                    §       Case No. 23-10164-SMR
     Debtor                                           §
                                                      §

                     RESPONSE TO MOTION FOR STATUS CONFERENCE

             COME NOW Thomas Dolezal, Matthew Kelly, Hasan Ugur Koyluoglu and Casey Melcher

      and file this Response to Motion for Status Conference and would show as follows:

             1.    The Trustee has filed a Motion for Status Conference.

             2.    A status conference can be a beneficial device for managing a case.

             3.    However, the Trustee is misusing the status conference procedure to retaliate

  against creditors who sought to elect a trustee. The Trustee’s selective recitation of facts omits the

  fact that Trustee’s counsel, Jay Ong, objected to the claim of every creditor who sought to elect a

  trustee.

             4.    The proper procedure is to wait for the U.S. Trustee to file his report of disputed

  election and then for the moving creditors to seek confirmation of the election. At that time the

  court can determine the merits of the trustee election.
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                                                Respectfully submitted,

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                                                By /s/ Stephen Sather
                                                 Stephen Sather
                                                 State Bar No 17657520
                                                 ATTORNEY FOR OBJECTING PARTIES


                                    CERTIFICATE OF SERVICE

           I certify that a copy of the foregoing was served by electronic mail transmission or first
  class mail to the following parties by on August 8, 2023:

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                                              /s/Stephen W. Sather
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